  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         1 of 8   1
                            000001
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         2 of 8
                            000002
  Exhibit  1 - SF 95, Claim for40-2
                                Damage,   Injury, orPage
                                                     Death
                                                                  1
Case 5:18-ct-03118-D  Document      Filed 10/15/18       3 of 8
                            000003
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         4 of 8
                            000004
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         5 of 8
                            000005
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         6 of 8
                            000006
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
                                                         7 of 8
                            000007
  Exhibit
Case       1 - SF 95, Claim
     5:18-ct-03118-D        for40-2
                      Document  Damage,   Injury, orPage
                                    Filed 10/15/18   Death
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